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                              Certificate of Service Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                              :       CHAPTER 7
                                                    :
DUWAN PITTMAN,                                      :       CASE NO. 18-68220-PMB
                                                    :
         Debtor.                                    :
                                                    :

                                 CERTIFICATE OF SERVICE

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION AND DEADLINE TO OBJECT (NFR) by first
class U.S. Mail, with adequate postage prepaid, on the persons or entities at the addresses stated
on the attached Exhibit “A”.

         This 30th day of April, 2021.

                                                     /s/ S. Gregory Hays
                                                    S. Gregory Hays
                                                    Chapter 7 Trustee

Hays Financial Consulting, LLC
2964 Peachtree Rd, N.W
Suite 555
Atlanta, Georgia 30305
(404) 926-0060
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                                Exhibit “A”
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                                        Certificate of Service Page 3 of 3
AMERICAN EXPRESS                       American Express National Bank   CARE CREDIT
PO BOX 981537                          c/o Becket and Lee LLP           PO BOX 965036
EL PASO, TX 79998-1537                 PO Box 3001                      ORLANDO, FL 32896-5036
                                       Malvern, PA 19355-0701


CREDIT ONE                             Department of the Treasury       Duwan Pittman
6801 S. CIMMARON RD                    Internal Revenue Service         5521 Marbut Rd
LAS VEGAS, NV 89113-2273               P.O. Box 7346                    Lithonia, GA 30058-5574
                                       Philadelphia, PA 19101-7346


Hays Financial Consulting LLC          Internal Revenue Service         LVNV Funding, LLC
2964 Peachtree Road NW                 P O BOX 7346                     Resurgent Capital Services
Suite 555                              Philadelphia.PA 19101-7346       PO Box 10587
Atlanta, GA 30305-4909                                                  Greenville, SC 29603-0587


METRO CITY BANK                        Michael J. Bargar                Ocala Regional Medical Center
5441 Buford HGWY NE                    Arnall Golden Gregory, LLP       Resurgent Capital Services
Ste 109                                171 17th Street NW               PO Box 1927
DORAVILLE, GA 30340-1168               Suite 2100                       Greenville, SC 29602-1927
                                       Atlanta, GA 30363-1031
Office of the US Trustee               Portfolio Recovery Assoc, LLC    PRA Receivables Mgt, LLC
362 Richard Russell Building           POB 41067                        PO Box 41021
75 Ted Turner Drive, SW                Norfolk, VA 23541                Norfolk, VA 23541-1021
Atlanta, GA 30303-3315


R. Jeneane Treace                      Synchrony Bank                   US Dept of Education/MOHELA
Office of the United States Trustee    c/o PRA Receivables Mgt, LLC     633 Spirit Dr
75 Ted Turner Drive, SW                PO Box 41021                     Chesterfield, MO 63005-1243
362 Richard Russell Bldg.              Norfolk, VA 23541-1021
Atlanta, GA 30303
WELLS FARGO                            WELLS FARGO                      Wells Fargo Bank, N.A.
PO BOX 94435                           PO BOX 14517                     Wells Fargo Card Services
ALBURERQUE, NM 87199-4435              DES MOINES, IA 50306-3517        PO Box 10438
                                                                        MAC F8235-02F
                                                                        Des Moines, IA 50306-0438
Wells Fargo Bank, N.A.                 ZWICKER & ASSOCIATES
435 Ford Road, Suite 300               2470 SATELITE BLVD #120
St. Louis Park, MN 55426-4938          DULUTH, GA 30096-5801
